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                    UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF MICHIGAN


WEBASTO THERMO &
COMFORT NORTH AMERICA, INC.

              Plaintiff,                     Civil Action No.:
      v.
                                             Hon.:
                                             Magistrate:
CHRIS CRAFT CORPORATION,
a Florida Corporation,
INDEPENDENT BOAT BUILDERS
INCORPORATED, an Illinois Corporation,
STEVE HEESE, individually,

          Defendants.
__________________________________________________________________

                            PLAINTIFF’S COMPLAINT

      NOW COMES Plaintiff, Webasto Thermo & Comfort North America, Inc.,

by and through its Attorneys, HAMMOUD, DAKHLALLAH & ASSOCIATES,

PLLC, and for its Complaint, alleges the following against Defendants:

                           INTRODUCTORY STATEMENT

      1. This is a civil action seeking relief under the provisions of the Sherman

           Antitrust Act (“SAA”) 15 USCA § 1 et seq. and various related causes of

           action derived from Defendants’ engagement in an unreasonable restraint

           of trade.




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    2. Plaintiff brings this action to recover the damages suffered as a result of

       Defendants’ improper conduct.

                                JURISDICTION

    3. This Court has jurisdiction over Plaintiff’s claim for violations of the

       Sherman Antitrust Act 15 USCA § 1 et seq., under 28 U.S.C. § 1331, 28

       U.S.C. § 1337.

    4. The amount in controversy exceeds Seventy-Five Thousand Dollars

       ($75,000.00), exclusive of interest, costs and attorney fees.

    5. This Court has personal jurisdiction over Defendants under Mich. Comp.

       Laws § 600.705(2). (See Gen Motors Corp v Ignacio Lopez de Arriortua,

       948 F Supp 656, 663 (ED Mich 1996), if the nonresident conducted

       business, committed a tort, or furthered a tortious scheme in the forum,

       personal jurisdiction is appropriate).

    6. Venue is proper in this District, pursuant to 28 U.S.C. § 1391(a) and

       1391(b), because Plaintiff resides in this District, suffered the damages at

       issue in this District and Defendants’ actions caused consequences to occur

       in this District, giving rise to Plaintiff’s claims in this District.

                                          PARTIES

    7. Plaintiff hereby incorporates by reference the preceding paragraphs as

       though fully set forth herein.



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    8. Plaintiff Webasto Thermo & Comfort North American, Inc., is

       incorporated in and does business in this judicial district in the State of

       Michigan.

    9. Defendant Independent Boat Builders Incorporated is incorporated in the

       State of Illinois.

    10. Defendant Chris Craft Corporation is a company incorporated under the

       laws of the State of Florida.

    11. Defendant Stephen Heese is an individual that resides in the City of Tampa

       State of Florida.

                            FACTUAL ALLEGATIONS


    12. Plaintiffs hereby incorporates by reference the preceding paragraphs as

       though fully set forth herein.

    13. Defendant Chris Craft Corporation (“Chris Craft”) is a boat manufacturer.

    14. In 2012, Defendant Chris Craft contacted Plaintiff Webasto Thermo &

       Comfort North America, Inc., (“Webasto”), inquiring about using the

       Webasto Series 60 Marine Sunroof and glass panel for their 36 foot Corsair

       model.

    15. Webasto provided all necessary engineering documentation to Chris Craft

       for it to produce a mold that had the correct mounting surface to receive

       Webasto’s Series 60 Marine Sunroof.

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    16. Webasto then validated the initial installation as to be consistent to the

       engineering specifications required by Webasto.

    17. Chris Craft then began production of its 36 foot Corsair model and

       Webasto delivered Sunroofs as needed.

    18. In 2015, Chris Craft contacted Webasto stating it had Sunroof related

       issues.

    19. Webasto then inspected the issue and discovered that its Webasto Series

       60 Sunroof that was designed to fit Chris Craft’s 36 foot Corsair model

       was being used by Chris Craft on their new 36 foot Launch model.

    20. Chris Craft, without Webasto’s knowledge or validation, developed a new

       hard top roof mold to install Webasto’s Series 60 Sunroof on its newer 36

       Launch model.

    21. Webasto’s Series 60 Sunroof was not designed for Chris Crafts 36 Launch

       model, resulting in a defect in workmanship by Chris Craft.

    22. In 2018, non-party Ahab Garas, who owed a Chris Craft 36 Launch, was

       involved in an incident where the Sunroof shattered, resulting in non-life-

       threatening injuries to the passengers.

    23. The root cause of the Sunroof’s failure was Chris Craft’s improper use of

       Webasto’s Series 60 Sunroof on its 37 Launch model.




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    24. In a gesture of goodwill towards Chris Craft, a significant customer of

       Webasto, Webasto offered to contribute $25,000.00 towards Chris Craft’s

       settlement with Mr. Garas, in exchange for indemnity from the Garas

       family, and a separate indemnification from Chris Craft for any further

       Webasto liability.

    25. Webasto received an executed indemnification from the Garas family, but

       did not receive an indemnification from Chris Craft.

    26. As a result, Webasto did not pay the $25,000.00 towards the settlement.

    27. Chris Craft’s president and Chief Executive Officer, Defendant Steve

       Heese, became upset with Webasto for not paying the $25,000.00 despite

       knowing Chris Craft did not fulfill its part of the agreement to indemnify

       Webasto.

    28. On December 7, 2018, Defendant Heese, wrote Webasto employees an E-

       mail stating,


          “It would have cost Webasto twice that amount just to
          prepare the first answer to his lawsuit. Do you really want
          to screw me over this? Before you answer, pls [sic] think
          hard about this, and you may want to google my name. I
          am currently chairman of the NMMA and on the board of
          our industry’s largest buying co-op. Is it worth $25k to
          create an enemy for life ?”




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    29. When Defendant Heese refers to the “industry’s largest buying co-op,” he

       is referring to Defendant Independent Boat Builders Incorporated

       (“IBBI”).

    30. According to IBBI’s website, it is the largest partnership in the marine

       industry.

    31. IBBI is a purchasing cooperative group comprised of 18 boat

       manufacturers.

    32. IBBI offers 3-5 year agreements to selective manufacturers and suppliers

       for marine equipment, parts and hardware.

    33. Defendant Steve Heese is the President and CEO of Chris Craft

       Corporation, and also sits on IBBI’s board of directors.

    34. Chris Craft is one of the 18 owners of IBBI.

    35. On November 20, 2019, Plaintiff was solicited to submit a bid to

       Defendant IBBI to become IBBI’s preferred supplier of HVAC, Heater

       and Sunroofs. Historically, IBBI had only one supplier for the category of

       marine air condition, but now, according to its President Tom Broy, was

       seeking two air condition suppliers as preferred by IBBI’s owners.

    36. On April 3, 2020, Webasto submitted its best and final bid to IBBI. Upon

       information and belief, Webasto had the best offer of all bidders.




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    37. On April 7, 2020, Tom Broy spoke with David Wollard, Senior Director

       of Marine Climate for Webasto. During that conversation, Mr. Broy

       seemed pleased with Webasto’s bid. Then, Mr. Broy asked if Mr. Wollard

       knew Defendant Steve Heese of Chris Craft, and brought up what

       Defendant Heese had told him about Webasto’s refusal to pay $25,000.00

       towards the settlement.

    38. On June 25, 2020, Mr. Broy on behalf of IBBI advised Webasto that it

       rejected its bid.

    39. Tom Broy gave two reasons for rejecting Webasto’s bid, 1) availability of

       part/kit and 2) overall system price.

    40. Mr. Wollard presented Mr. Broy with the facts that there were no issues

       with the availability of parts/kits and that Webasto was more competitively

       priced with individual A/C systems than anyone else. Mr. Brody agreed,

       and said IBBI was confused. When asked why Webasto was not provided

       an opportunity to address confusion, Mr. Broy said, “it got lost in the

       shuffle.”

    41. Mr. Broy also said, that in addition to the 5 year warranty that IBBI was

       seeking, the members of IBBI did not want to accept Webasto’s bid

       because they believed Webasto did not honor product warranty. The only

       source of this false information was Heese and Chris Craft.



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    42. In fact, the winning bidder did not meet IBBI’s demand for a 5 year

       warranty.

    43. Simply put, Defendants Heese and Chris Craft made good on their threat

       by convincing IBBI – through false information – to boycott Webasto as a

       supplier.

                           COUNT I
           VIOLATION OF THE SHERMAN ACT (15 U.S.C. § 1)

    44. Plaintiff realleges and reincorporates all previous allegations as though

       restated herein.

    45. Under the Section 1 of the Sherman Act, “Every contract, combination in

       the form of trust or otherwise, or conspiracy, in restraint of trade or

       commerce among the several States, or with foreign nations, is declared to

       be illegal.” 15 U.S.C.A. 1.

    46. Defendant IBBI, collectively and through its various members, possesses

       extensive market power and is the Nation’s largest buying cooperative in

       the marine industry.

    47. On November 20, 2019, Plaintiff received an invitation from IBBI to bid

       on becoming IBBI’s marine air condition supplier for the next three years.

    48. The marine air condition equipment was to be used in the marine products

       sold by IBBI’s owners all across the Country and the internationally.




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    49. On April 3, 2020, Plaintiff submitted a bid to IBBI to be a supplier of

       marine air condition products.

    50. Defendant Steve Heese is on the board of directors for IBBI.

    51. On December 7, 2018, Defendant Heese, on behalf of Defendant Chris

       Craft, threatened Webasto with, “you may want to google my name. I am

       currently chairman of the NMMA and on the board of your industry’s

       largest buying co-op. Is it work $25k to create an enemy for life?”

    52. Defendants Heese and Chris Craft followed through on this threat, and

       sometime between December 7, 2019 and June 25, 2020, conspired with

       IBBI, and some or all of its member companies, to unlawfully boycott and

       not do business with Plaintiff.

    53. Defendants Heese, Chris Craft and IBBI knowingly entered into the

       conspiracy to unreasonably restrain interstate or foreign commerce.

    54. On April 7, 2020, Tom Broy, President of IBBI, admitted that Defendant

       Heese told him that Webasto reneged on an agreement to settle an

       outstanding situation.

    55. IBBI rejected Plaintiff’s bid pursuant to the conspiracy.

    56. IBBI’s rejection resulted in increased pricing for consumers, because

       Plaintiff was the best priced bid.




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      57. Collectively, IBBI and Chris Craft conspired to boycott Plaintiff as a

          market participant in violation of Section 1 of the Sherman Act.

      58. Defendants’ conspiracy either substantially affected interstate or foreign

          commerce or occurred within the flow of interstate or foreign commerce.

      59. As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff

          has suffered a substantial economic injury, loss of goodwill, harm to its

          busines reputation, loss of esteem and standing in the business community,

          and loss of business opportunity.

      WHEREFORE, Plaintiff respectfully requests that this Court enters judgment

against Defendants for compensatory damages in an amount exceeding $75,000.00,

mandatory treble damages, plus costs and attorneys’ fees and interest so wrongfully

incurred in having to bring this lawsuit.

                               COUNT II
                     TORTIOUS INTERFERENCE WITH
                 BUSINESS RELATIONSHIP OR EXPECTENCY

      60. Plaintiff realleges and reincorporates all previous allegations as though

          restated herein.

      61. Plaintiff had a business expectancy with Defendant IBBI and for deriving

          benefits therefrom.

      62. Defendants Heese and Chris Craft knew of this expectancy, and of

          Plaintiff’s bid.



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     63. Defendants Heese and Chris Craft wrongfully diverted and took away

        Plaintiff’s relationship with Defendant IBBI.

     64. Defendants Heese and Chris Craft attempted to induce – and did induce –

        IBBI to terminate its relationship with Plaintiff.

     65. Defendants’ conduct was knowing, intentional, improper, and malicious.

     66. These actions were by no means accidental or negligent – they were

        calculated and specific acts. These are per se wrongful acts – “an act that

        is inherently wrongful or one that is never justified under any

        circumstances.” Patillo v Equitable Life Assurance Soc’y, 502N.W.2D

        696, 700 (Mich. Ct. App. 1993).

     67. These acts are prima facie evidence of an act that is inherently wrongful.

     68. These acts are also done with malic because “it is the intentional doing of

        a wrongful act without justification or excuse.” Feldman v Green, 360

        N.W.2d 881, 881 (Mich. App. 1984).

     69. As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff

        has suffered a substantial economic injury, loss of goodwill, harm to its

        busines reputation, loss of esteem and standing in the business community,

        and loss of business opportunity.

     70. Further, the actions of Defendants are causing lost profit damages, loss of

        good will, and loss of business reputation to accumulate every day.



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   WHEREFORE, Plaintiff respectfully requests that this Court enters judgment

against Defendants in an amount exceeding $75,000.00, plus costs and attorneys’

fees and interest so wrongfully incurred in having to bring this lawsuit.

                             COUNT III
              TORTIOUS INTERFERENCE WITH CONTRACTS


      71. Plaintiff realleges and reincorporates all previous allegations as though

         restated herein.

      72. Plaintiff have a contractual relationship with Defendant IBBI pursuant to

         its bid to become a preferred supplier.

      73. At the time Defendants Heese and Chris Craft engaged in the wrongful

         actions described above, Defendants knew about the contractual

         relationship between Plaintiff and IBBI.

      74. Defendants Heese and Chris Craft wrongfully solicited, diverted and took

         away Plaintiff’s relationship with IBBI.

      75. Defendants Heese and Chris Craft have also attempted to induce – and did

         induce – IBBI to terminate its relationship with Plaintiff.

      76. Defendants’ conduct was knowing, intentional, improper, and malicious.

      77. These actions were by no means accidental or negligent – they were

         calculated and specific acts. These are per se wrongful acts – “an act that

         is inherently wrongful or one that is never justified under any



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         circumstances.” Patillo v Equitable Life Assurance Soc’y, 502N.W.2D

         696, 700 (Mich. Ct. App. 1993).

      78. These acts are prima facie evidence of an act that is inherently wrongful.

      79. These acts are also done with malic because “it is the intentional doing of

         a wrongful act without justification or excuse.” Feldman v Green, 360

         N.W.2d 881, 881 (Mich. App. 1984).

      80. As a direct and proximate result of Defendants wrongful conduct, Plaintiff

         has suffered a substantial economic injury, loss of goodwill, harm to its

         busines reputation, loss of esteem and standing in the business community,

         and loss of business opportunity.

      81. Further, the actions of Defendants are causing lost profit damages, loss of

         good will, and loss of business reputation to accumulate every day.

      WHEREFORE, Plaintiff respectfully requests that this Court enters judgment

against Defendants in an amount exceeding $75,000.00, plus costs and attorneys’

fees and interest so wrongfully incurred in having to bring this lawsuit.

                                   COUNT IV
                             BUSINESS DEFAMATION

      82. Plaintiff realleges and reincorporates all previous allegations as though

         restated herein.

      83. A corporation has a cause of action for defamation. Heritage Optical

         Center, Inc v Levine, 137 Mich App 793; 359 NW2d 210 (1984).

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      84. Defendants Heese and Chris Craft made defamatory statements regarding

         Plaintiff to IBBI, either verbally and/or in writing.

      85. Defendant Heese, individually and on behalf of Chris Craft, told

         employees and shareholders of IBBI that Webasto does not stand behind

         its product warranty.

      86. Defendant Heese, individually and on behalf of Chris Craft, told

         employees and shareholders of IBBI that Webasto reneged on paying Chris

         Craft $25,000 as agreed to settle an outstanding situation.

      87. Defendants’ statements to IBBI and its shareholders were intentional and

         knowingly false in some material respect, and the statement had a tendency

         to harm Plaintiff’s reputation.

      88. As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff

         has suffered a substantial economic injury, loss of goodwill, harm to its

         busines reputation, loss of esteem and standing in the business community,

         and loss of business opportunity.

      89. Further, the actions of Defendants are causing lost profit damages, loss of

         good will, and loss of business reputation to accumulate every day.

   WHEREFORE, Plaintiff respectfully requests that this Court enters judgment

against Defendants in an amount exceeding $75,000.00, plus costs and attorneys’

fees and interest so wrongfully incurred in having to bring this lawsuit.



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                         COUNT V
    BREACH OF COVENANT OF GOOD FAITH AND FAITH DEALING
       UNDER THE UNIFORM COMMERCIAL CODE SECTION 1-205

     90. Plaintiff realleges and reincorporates all previous allegations as though

        restated herein.

     91. The Uniform Commercial Code states that every contract or duty within

        the Act imposes an obligation of good faith in its performance or

        enforcement.

     92. Defendant IBBI is a “merchant” as defined under UCC 2-204(1).

     93. “Good faith” in the case of a merchant means honesty in fact and the

        observance of reasonable commercial standards of fair dealing in the trade.

        UCC Section 2-203(1)(b).

     94. IBBI’s invitation to bid and Plaintiff submission of a bid formed a contract

        between Plaintiff and Defendant IBBI.

     95. Plaintiff did all or substantially all of the significant things required under

        the bid invitation, including being the most competitively priced bidder.

     96. Defendant IBBI breached the covenant of good faith and fair dealings by

        not acting in good faith and unfairly rejecting Plaintiff’s bid.

     97. Plaintiff suffered damages as a direct and proximate result of Defendant’s

        conduct.




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   WHEREFORE, Plaintiff respectfully requests that this Court enters judgment

against Defendants in an amount exceeding $75,000.00, plus costs and attorneys’

fees and interest so wrongfully incurred in having to bring this lawsuit.

                                  COUNT VI
                            DECLARATORY JUDGMENT

      98. Plaintiff realleges and reincorporates all previous allegations as though

         restated herein.

      99. An actual, present and justiciable controversy has arisen between Plaintiff

         and Defendant Chris Craft concerning liability resulting from the

         malfunctioning of Webasto’s Series 60 Sunroof that was used by Chris

         Craft on its 36 foot Launch model.

      100. Plaintiff seeks a declaratory judgment based on Defendant Chris Craft’s

         refusal to indemnify Plaintiff for injuries and damages resulting from

         Defendant Chris Craft’s improper use of Webasto Series 60 Sunroof that

         was used by Chris Craft on its 36 foot Launch model.

      101. Pursuant to Fed. R. Civ. P. 57 and 28 U.S. Code § 2201, Plaintiff and

         Defendants are involved in a controversy that requires the Court to decide

         the respective rights of the parties.

      102. Plaintiff requests that the Court enter an Order declaring that:

             a. Any defect in a Webasto Series 60 Sunroof installed on a Chris Craft

                Launch model or any model other than the 36 foot Corsair it was

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                designed for, shall be deemed caused by Chris Craft, and Defendant

                Chris Craft shall be liable and responsible for any defects, and

                Plaintiff shall not be liable for any damages resulting therefrom;

            b. Plaintiff’s bid to IBBI was the best bid IBBI received to supply IBBI

                with marine air condition;

            c. Plaintiff is entitled to treble damages in an amount to be determine;

                and

            d. Plaintiff is entitled to all other remedies this Court deems just and

                appropriate.

                         HAMMOUD DAKHLALLAH & ASSOCIATES, PLLC

                                        /s/ Kassem M. Dakhlallah_______
                                        Kassem M. Dakhlallah (P70842)
                                        Attorneys for Plaintiff
                                        6050 Greenfield Rd., Ste., 201
                                        Dearborn, MI 48126
                                        Ph.: (313) 551-3038
Dated: October __, 2020                 Email: kd@hdalawgroup.com


                       DEMAND FOR TRIAL BY JURY

      NOW COMES Plaintiff, Webasto Thermo & Comfort North America, Inc.,

by and through its attorneys, Hammoud Dakhlallah & Associates, PLLC and hereby

demands a trial by jury in the above referenced matter.



                                        /s/ Kassem M. Dakhlallah_______

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